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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

                    Plaintiffs,

v.                                             Civil Action No. 1:17-2041-RJL

BEAN LLC a/k/a FUSION GPS, and GLENN
SIMPSON,

                    Defendants.



                           SUPPLEMENT TO
     PLAINTIFFS’ SECOND MOTION TO COMPEL DEFENDANTS TO PRODUCE
           DOCUMENTS IMPROPERLY WITHHELD AS PRIVILEGED
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                                        INTRODUCTION

         On May 21, 2021, Plaintiffs filed their Second Motion to Compel Defendants to Produce

Documents Improperly Withheld as Privileged [Dkt. 147]. As Plaintiffs explained in that Motion,

despite having had three opportunities to produce a proper privilege log—and having been ordered

by this Court “to submit to plaintiffs an updated privilege log with additional detailed information

sufficient to allow determination of defendants’ claims of privilege”1—Defendants chose not to

do so. Instead, Defendants continued to withhold nearly 500 documents as privileged (while

producing under 750) based on a patently insufficient privilege log that entirely fails to satisfy

their “burden of demonstrating facts sufficient to establish [any] privilege’s applicability” to those

documents. E.g., In re Subpoena Duces Tecum Issued to Commodity Futures Trading Comm’n,

439 F.3d 740, 750 (D.C. Cir. 2006). Thus, Plaintiffs explained, the Court should compel

Defendants to produce those documents. See, e.g., Walker v. Ctr. for Food Safety, 667 F. Supp.

2d 133, 138 (D.D.C. 2009) (compelling production of withheld documents when party had

multiple opportunities to produce a sufficient privilege log but failed to do so); In re Chevron

Corp., No. 10-mc-371, 2013 WL 11241413, at *3 (D.D.C. Apr. 22, 2013) (same).

         After Plaintiffs filed their Second Motion to Compel—and following the Government’s

indictment of former Perkins Coie attorney Michael Sussmann—it became clear that Defendants

possess numerous documents responsive to Plaintiffs’ RFPs that Defendants neither produced nor

included on their privilege log. Then, following Plaintiffs’ inquiry about those documents,

Defendants produced a supplemental privilege log that is just as deficient as their previous three

privilege logs. Plaintiffs file this Supplement to their Second Motion to Compel to update the

Court regarding Defendants’ latest insufficient privilege log and to request that the Court compel


1
    Order Granting Pls.’ Mot. to Compel re Defs.’ Privilege Log (Mar. 30, 2021) (emphasis added).


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Defendants to produce the documents listed thereon along with the documents listed on

Defendants’ third (insufficient) privilege log.

                               SUPPLEMENTAL INFORMATION

          As the Court knows, Plaintiffs’ defamation claim arises from Defendants’ publication of

false statements accusing Plaintiffs of, among other things, bribery, extortion, and interference in

the 2016 U.S. Presidential Election, in an “intelligence” memorandum titled “Company

Intelligence Report 2016/112” (“CIR 112”), which Defendants commissioned from Christopher

Steele and his firm, Orbis Business Intelligence.2        As relevant here, Plaintiffs are indirect

shareholders of the Alfa group of companies (including Alfa Bank), and Plaintiffs’ RFPs requested

that Defendants produce, among other things, documents and communications with third parties

concerning the Alfa companies.3 At the time Plaintiffs filed their Second Motion to Compel,

Plaintiffs believed—based on Defendants’ representations—that Defendants had either produced

or listed on their privilege log all documents in their possession concerning Alfa responsive to

Plaintiffs’ RFPs.

          Since Plaintiffs filed their Second Motion to Compel, they have learned that Defendants’

representations were false. On September 16, 2021, the U.S. Government (Special Counsel John

Durham) indicted then-Perkins Coie attorney Michael Sussmann for making false statements to

the FBI when he reported to the FBI the now-widely-debunked allegation that an Alfa Bank server

had secretly communicated with a Trump Organization server.4 The indictment alleges that,




2
  See, e.g., Am. Compl. ¶¶ 1-10, 13, 31 (Dec. 12, 2017) [Dkt. 17]. CIR 112, along with similar
reports prepared by and for Defendants, have become known as the “Steele Dossier.” See id. ¶ 1.
3
    Pls.’ First RFPs to Defs. at RFP No. 3 (Oct. 11, 2019).
4
  Indictment, United States v. Michael A. Sussmann, No. 21-cr-582 (D.D.C. Sept. 16, 2021)
(“Sussmann Indictment”), https://www.justice.gov/sco/press-release/file/1433511/download.


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contrary to his representation, Mr. Sussmann, in making that report, was acting on behalf of his

clients, the Clinton Campaign and “Tech Executive-1.”5 “Tech Executive-1” has since been

identified as Rodney Joffe.6

          As relevant here, the Government’s indictment of Mr. Sussmann explains that Defendant

Fusion GPS (referred to as “U.S. Investigative Firm”7) coordinated with Mr. Sussmann and

Mr. Joffe to “disseminate the [Alfa Bank] allegations to the media” in an effort to create a

“narrative” of collusion between the Trump Campaign and Russia.8 The indictment also makes

specific reference to electronic communications sent or received by Fusion GPS principals and

employees as part of that effort.9 For example, the Sussmann Indictment provides that:

      •   Fusion personnel exchanged emails with Mr. Sussmann and then-Perkins Coie partner
          Marc Elias with the subject line “Connecting you all by email” that related to the Alfa Bank
          server allegations;10 and
      •   Fusion personnel exchanged emails with Mr. Joffe about the Alfa Bank server
          allegations.11




5
    Id. ¶ 4.
6
  Evan Perez & Katelyn Polantz, Durham Issues Fresh Round of Subpoenas in His Continuing
Probe of FBI Investigation into Trump, Russia, CNN (Sept. 30, 2021)
https://www.cnn.com/2021/09/30/politics/durham-subpoenas-probe-russia-fbi-
sussman/index.html.
7
     Erik     Wemple     (@ErikWemple),     Tweet   (Sept. 17,              2021,     12:01    p.m.),
https://twitter.com/ErikWemple/status/1438895830531022850.
8
    Sussmann Indictment ¶ 25.
9
    Id. ¶ 20.
10
   Id. ¶ 20(d). Mr. Elias, who was the General Counsel for the Clinton Campaign, is identified in
the indictment as “Campaign Lawyer-1.” See Debra Cassens Weiss, Perkins Coie Partner Resigns
from Firm After He Is Charged by Special Counsel, ABA Journal (Sept. 17, 2021),
https://www.abajournal.com/news/article/perkins-coie-partner-resigns-from-firm-after-he-is-
charged-by-special-counsel.
11
     Id. ¶ 20(g).


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         On October 8, 2021, Plaintiffs’ counsel wrote to Defendants’ counsel raising the issue of

Defendants’ failure to produce or log those communications—which Plaintiffs only learned about

because the Sussmann Indictment was unsealed and which are plainly responsive to Plaintiffs’

discovery requests.12 In response, Defendants produced just 13 pages of documents and produced

a Supplemental Privilege Log listing 33 documents. Plaintiffs attach Defendants’ Supplemental

Privilege Log here as Exhibit A.

         Defendants’ Supplemental Privilege Log is deficient for the exact same reasons that their

Third Privilege Log is deficient—as explained in Plaintiffs’ Motion to Compel. Specifically,

Defendants:

     •   Repeat the same hypergeneric privilege description that just parrots the legal
         elements of privilege for every document: “Confidential research [or “communication
         regarding research”] prepared at the direction of Perkins Coie and in anticipation of
         litigation, and for the purpose of providing legal advice.”13



12
   Defendants have never provided a satisfactory explanation as to why they did not produce these
documents before Plaintiffs were able to point to the Sussmann Indictment as proof that they
existed. Defendants’ counsel initially claimed that these documents “were not produced or logged
because they did not contain the agreed-upon search terms that Defendants used to locate
responsive discovery.” (Letter from J. Levy to T. Clare, A. Phillips, & J. Oliveri, at 1 (Oct. 21,
2021) (Exhibit B).) But Defendants’ counsel’s claim was false. As Plaintiffs’ counsel pointed
out in response to that claim, the list of agreed-upon search terms included “Alfa”—which is
contained in the document that Defendants belatedly produced as DEFS0011826—and the search
terms likewise included “@perkinscoie.com,” and Defendants’ Supplemental Privilege Log lists
multiple emails in which an “@perkinscoie.com” email address is included as a recipient or a cc.
(Letter from T. Clare & A. Phillips to J. Levy, at 1 (Oct. 26, 2021) (Exhibit C). Called out on his
false claim, Defendants’ counsel changed his story and asserted that Defendants’ glaring failure to
produce or log highly-responsive documents was “inadvertent.” (Letter from J. Levy to T. Clare
and A. Phillips, at 2 (Nov. 5, 2021) (Exhibit D).) In light of Defendants’ counsel’s apparent
misrepresentations about Defendants’ document production, Plaintiffs reserve their rights to
challenge Defendants’ productions and, if warranted, seek sanctions.
13
   PRIV000498-530. This is improper. (See Pls.’ Second Mot. to Compel at 12-16 (explaining
that a privilege log must contain “individualized and detailed” privilege descriptions for all
documents withheld and that descriptions that simply “recit[e] [] the applicable legal standard” are
insufficient” (quoting United States v. KPMG LLP, 316 F. Supp. 2d 30, 40 (D.D.C. 2004); In re
Chevron Corp., No. 10-mc-371, 2013 WL 11241413, at *3 (D.D.C. Apr. 22, 2013))).)


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      •   Claim Privilege Over Non-Attorney Communications. 25 of the 27 emails on
          Defendants’ log do not involve attorneys, and the one attorney (Michael Sussmann) copied
          on the other 2 emails did not represent the client for whom Defendants were performing
          (political opposition) work.14

      •   Claim Privilege Over Communications with Third Party Rodney Joffe. Defendants
          claim privilege over 2 emails with third-party Rodney Joffe (and their attachments)—and
          no attorneys are copied on those emails.15 Notably, Defendants have never identified
          Mr. Joffe as a person with discoverable information or knowledge of matters relevant to
          this case, whether in their Rule 26 disclosures or any other filing. Moreover, Defendants’
          only argument that these communications are privileged—despite the lack of attorney-
          involvement and despite third-party Mr. Joffe’s inclusion in them—is that Mr. Joffe and
          Defendants were both (purportedly) clients of Perkins Coie. But even if Defendants and
          Mr. Joffe are both (separately) clients of large law firm Perkins Coie, that does not render
          communications among those three privileged. The transitive property may hold for
          mathematics, but it does not for legal privilege.

      •   Do Not Differentiate Privileges Claimed. Defendants generically claim both attorney-
          client privilege and work-product protection without differentiation for all documents
          withheld.16

      •   Omit Necessary Information Regarding Work-Product Claims. Defendants claim
          work-product protection without identifying even generally what litigation was
          anticipated.17

      •   Omit Necessary Information Regarding Attorney-Client Privilege Claims.
          Defendants claim attorney-client privilege without identifying basic information required
          to substantiate such claims, including the authors of non-email documents (which may have
          been drafted or viewed by third parties) and attachments to emails from third parties (which
          are facially non-privileged), the types of documents withheld (except emails), the number
          of pages of documents withheld, and dates for non-emails.18

      •   Claim Facially Inapplicable Privileges. Defendants claim privilege over 3 emails dated
          after October 31, 2016,19 the date on which former Clinton Campaign Chairman John
          Podesta testified, under oath, that the Clinton Campaign’s engagement of Defendants



14
     PRIV000501-02, PRIV000506-30. This is improper. (Pls.’ Second Mot. to Compel at 17-21.)
15
     PRIV000498-505. This is improper. (See Pls.’ Second Mot. to Compel at 17-21.)
16
     PRIV000498-530. This is improper. (See Pls.’ Second Mot. to Compel at 12-13.)
17
     PRIV000498-530. This is improper. (See Pls.’ Second Mot. to Compel at 24-25.)
18
     PRIV000498-530. This is improper. (See Pls.’ Second Mot. to Compel at 12-13.)
19
     PRIV000527-29.


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       terminated.20 Thus, even if a privilege could have attached for the political opposition
       work Defendants performed for the Clinton Campaign (it cannot), it would not apply to
       those emails because they post-date that engagement.

                                        *        *      *

       Defendants should be compelled to produce the documents listed on their Supplemental

Privilege Log, just as they should be compelled to produce those listed on their Third Privilege

Log that is the subject of Plaintiffs’ Second Motion to Compel Defendants to Produce Documents

Improperly Withheld as Privileged [Dkt. 147].



 Dated: December 3, 2021                        Respectfully submitted,

                                                  /s/ Thomas A. Clare, P.C.
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20
  Testimony of John Podesta Before the House Permanent Select Committee on Intelligence, at
11-12 (Dec. 4, 2017), https://s3.documentcloud.org/documents/6887547/John-Podesta-Dec-4-
2017.pdf.


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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Supplement to Plaintiffs’ Second Motion to Compel

Defendants to Produce Documents Improperly Withheld as Privileged was filed electronically with

the Clerk of Court on December 3, 2021, using the CM/ECF system, which will send notification

of such filing to all counsel of record.


                                               /s/ Thomas A. Clare, P.C.
                                              Thomas A. Clare, P.C.




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